                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 UNITED STATES OF AMERICA                          )
                                                   )           No. 1:09-CR-181
 v.                                                )
                                                   )           Chief Judge Curtis L. Collier
 DONNY CAMPBELL                                    )
                                                   )

                                              ORDER

        On August 5, 2010, United States Magistrate Judge William B. Mitchell Carter filed a Report

 and Recommendation (“R&R”) recommending (a) the Court accept Defendant’s plea of guilty to

 the lesser included offense in Count One of the Indictment, conspiracy to distribute and manufacture

 methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B), in exchange for the

 undertakings made by the government in the written plea agreement; (b) the Court adjudicate

 Defendant guilty of the charges set forth in the lesser included offense in Count One of the

 Indictment; (c) that a decision on whether to accept the plea agreement be deferred until sentencing;

 and (d) Defendant shall remain in custody pending sentencing in this matter (Court File No. 683).

 Neither party filed an objection within the given fourteen days. After reviewing the record, the

 Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

 ACCEPTS and ADOPTS the magistrate judge’s report and recommendation pursuant to 28 U.S.C.

 § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to the lesser included offense in Count One of the Indictment,

 in exchange for the undertakings made by the government in the written plea agreement, is

 ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included




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 offense in Count One of the Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday,

 December 2, 2010, at 2:00 p.m.



        SO ORDERED.

        ENTER:

                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




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